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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                           SOUTHERN DIVISION



  UNITED STATES OF AMERICA,                CR 19-40033

                    Plaintiff,             APPLICATION FOR WRIT OF
                                           HABEAS CORPUS AD
       vs.                                 PROSEQUENDUM PURSUANT
                                           TO 28 U.S.C. § 2241(c)(5)
  CALVIN W. PELICHET,
  a/k/a CALVIN W. PELLICHET,

                    Defendant.



TO:   THE HONORABLE VERONICA L. DUFFY, MAGISTRATE JUDGE, UNITED
      STATES DISTRICT COURT FOR THE DISTRICT OF SOUTH DAKOTA:

      The application of Jeremy R. Jehangiri, Assistant United States Attorney

for the District of South Dakota, respectfully shows to the Court that Calvin W.

Pelichet, a/k/a Calvin W. Pellichet, Defendant in this action, is now confined in

the Ada County Jail, Boise, Idaho; that on May 8, 2019, said Defendant was

indicted by a grand jury on the charges of conspiracy to commit wire fraud and

wire fraud; and that it is necessary that said Defendant, now held in custody by

the Warden, be personally produced in this Court for an initial appearance

hearing on said charges on June 12, 2019, or any other date as ordered by the

Court for such hearing.

      WHEREFORE, it is prayed that pursuant to 28 U.S.C. § 2241(c)(5), a Writ

of Habeas Corpus Ad Prosequendum regarding the above-named Defendant

issue to the Warden of the Ada County Jail, and to the United States Marshal
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for the District of South Dakota, according to the practice of this Court, and that

said Defendant be kept in the custody of the United States Marshals Service until

the conclusion of all proceedings in this matter or further order of the Court.

      Dated and electronically filed this 10th day of May, 2019.

                                              RONALD A. PARSONS, JR.
                                              United States Attorney


                                                    /s/JEREMY R. JEHANGIRI
                                              Jeremy R. Jehangiri
                                              Assistant United States Attorney
                                              P.O. Box 2638
                                              Sioux Falls, SD 57101-2638
                                              Telephone: (605)357-2353
                                              Facsimile: (605)330-4410
                                              E-Mail: jeremy.jehangiri@usdoj.gov




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